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4
     Attorney for Defendant
5    Joanne Ramirez

6
                      IN THE UNITED STATES DISTRICT COURT
7
                IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,          ) Case No.2:06-cr-0101-MCE
10                                      )
                Plaintiff,              ) STIPULATION AND ORDER (AS TO
11                                      ) JOANNE RAMIREZ ONLY) CONTINUING
          vs.                           ) STATUS CONFERENCE AND EXCLUDING
12                                      ) TIM
     JOANN RAMIREZ,                     )
13                                      ) Court: Morrison C. England, Jr.
                Defendant.              )
14                                      )

15
          IT IS HEREBY STIPULATED AND AGREED by the parties through
16
     their respective attorneys that the status conference previously
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18   set for March 6, 2007, be continued to March 13, 2007, and that

19   time should be excluded from the calculation of time under the

20   Speedy Trial Act. It is anticipated that at that time Ms Ramirez

21   will enter a plea of guilty.

22        The parties submit that the ends of justice are served by
23   the Court excluding such time, so that counsel for defendant
24   Ramirez may have reasonable time necessary for effective
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     preparation, taking into account the exercise of due diligence.



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1    18 U.S.C. §3161(h)(8)(B)(iv); Local Code, T-4. The parties

2    stipulate and agree that the interests of justice served by
3    granting this continuance outweigh the best interest of the
4
     public and the defendant in a speedy trial. 18 U.S.C. §
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     3161(h)(8)(A).
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          IT IS SO STIPULATED
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8
     Dated: March 6, 2006                    /S/MICHAEL BECKWITH
9                                            Michael Beckwith
                                             Assistant United States
10                                           Counsel for Plaintiff
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12

13   Dated: March 6, 2006                    /S/MICHAEL B. BIGELOW
                                             Michael B. Bigelow, Esq.,
14                                           Attorney for Joanne Ramirez

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1                                     ORDER

2         IT IS ORDERED: that the status conference in case number
3    Cr.S. 06-101 MCE, as to Joanne Ramirez only, shall be continued
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     until March 13, 2007 at 8:30 AM and extending through March 13,
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     2007 time is excluded from the calculation of time under the
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     Speedy Trial Act. The Court finds that interests of justice
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     served by granting this continuance outweigh the best interests
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     of the public and the defendant in a speedy trial. 18 U.S.C. §
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     3161(h)(8)(A).
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          IT IS SO ORDERED
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13   DATED: March 12, 2007

14                                 __________________________________
                                   MORRISON C. ENGLAND, JR
15                                 UNITED STATES DISTRICT JUDGE

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